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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

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Donald P. Vogel,

                       Plaintiff,

       vs.                                            SETTLEMENT CONFERENCE ORDER

Thomas Roy, Minnesota Dept. of
Corrections, Commissioner of
Corrections, Individually and in
his office capacity, et al.,

                       Defendants.                    Court File No. 17-cv-3459 (WMW/LIB)


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       In accordance with Local Rule 16.5(b), a Settlement Conference in the above-entitled matter

is set for Wednesday, November 14, 2018, at 10:00 a.m., before Magistrate Judge Leo I. Brisbois,

in Courtroom No. 2, Edward J. Devitt Federal Building and U.S. Courthouse, 118 South Mill St.,

Fergus Falls, Minnesota.

       Counsel who will actually try the case and each party, armed with full settlement discretion,

shall be present in person. If individuals are parties to this case, they shall also be present. If a

corporation or other collective entity is a party, a duly authorized officer or managing agent of that

party shall be present. This means that each party must attend through a person who has the power

to change that party’s settlement posture during the course of the conference. If the party

representative has a limit, or “cap” on his or her authority, this requirement is not satisfied.

If an insurance company is involved, the responsible agent must be present in person.
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       The parties shall note that the Settlement Conference will not be terminated to accommodate

any travel plans. If needed, hotel reservations should be made in advance of the Conference to

accommodate continuing settlement efforts that extend past the usual business hours.1

       In order to encourage the parties to address the issue of settlement on their own, counsel for

all parties must engage in direct talks (email or letter exchanges will not be considered to be direct

talks) at least ten (10) days prior to the date of the Settlement Conference, to engage in a full and

frank discussion of settlement. If the case does not settle, each attorney shall submit to the

undersigned, at least one (1) week before the date of the Settlement Conference, a confidential

letter setting forth the parties’ respective settlement positions before the meeting, their respective

positions following the meeting and a reasoned, itemized analysis justifying their client’s last stated

settlement position. This confidential letter shall be submitted directly to Magistrate Judge Leo

I. Brisbois by e-mail to the following address: brisbois_chambers@mnd.uscourts.gov. Failure

of any lawyer to submit this letter may, in the Court’s discretion, result in the Settlement Conference

being rescheduled and the imposition of an appropriate sanction on the attorney whose failure caused

the Conference to be postponed. Additional sanctions may be imposed for failure to comply with




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        If the parties reach an impasse and are unable to settle this case at this Court-mediated
Settlement Conference, the parties are strongly encouraged and expected to fully explore other
options for participation in private ADR in an effort to see if settlement efforts may be restarted and
the case resolved by mutual agreement prior to the date certain trial date set by the District Judge.
The parties should submit a joint report to the Magistrate Judge via CM/ECF on the outcome of any
such private ADR efforts.
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any of the other foregoing instructions.



                                                 BY THE COURT:



DATED: March 2, 2018                             s/Leo I. Brisbois
                                                 Leo I. Brisbois
                                                 U.S. MAGISTRATE JUDGE




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